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                         IN THE UNITED STATES COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS

HANKAMER VENTURES, L.R


v.      §       CIVIL         ACTION              NO.   4:15-CV-00431
                                       §
M A R K E L I N T E R N AT I O N A L §
I N S U R A N C E C O M PA N Y, LT D , §
PROACTIVE CLAIMS SERVICE, INC., §
AND GULF COAST CLAIMS §
SERVICE OF HOUSTON, INC. §




                 MOTION TO DISMISS DEFENDANTS,
PROACTIVE CLAIMS SERVICE, INC. AND MARKEL INTERNATIONAL INSURANCE
                           COMPANY, LTD


      NOW COMES HANKAMER VENTURES, LP, Plaintiff in the above-entitled and

numbered cause, and files the following Motion to Dismiss PROACTIVE CLAIMS

SERVICE, INC. and MARKEL INTERNATIONAL INSURANCE COMPANY, LTD,

respectfully showing the Court as follows:

                                             I.

      Plaintiff HANKAMER VENTURES, LP no longer wishes to pursue the above

entitled and numbered cause of action against Defendants, PROACTIVE CLAIMS

SERVICE, INC. and MARKEL INTERNATIONAL INSURANCE COMPANY, LTD.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff, HANKAMER

VENTURES, LP, prays that this suit against PROACTIVE CLAIMS SERVICE, INC.

and MARKEL INTERNATIONAL INSURANCE COMPANY, LTD, be dismissed with
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prejudice, that costs of Court be taxed against the parties incurring same, and for

such other and further relief to which Plaintiff may be justly entitled.


                                           Respectfully submitted,


                                                  /s/ Rocky Lawdermilk
                                           Rocky Lawdermilk
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                                           ATTORNEYS FOR PLAINTIFF
                                           HANKAMER VENTURES, LP

                               CERTIFICATE OF SERVICE

      I hereby certify that on this the 1st day of April, 2016, a true and correct copy of
the above and foregoing instrument was electronically filed with the Clerk of the Court
and was served on all counsel of record:




                                                         /s/ Rocky Lawdermilk
                                                   Rocky Lawdermilk
